Case 2:OO-cr-20068-BBD-dkv Document 65 Filed 09/02/05 Page 1 of 2 Page|D 79

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IN THE UNITED STATES DISTRICT COURTFEEULH‘ZZ[“'B
FOR THE WESTERN DISTRICT OF TENNESSEE

 
 
 

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UNITED sTATEs oF AMERICA, * 11 ' ' `* §‘-?j",l,`;"~é;~@ m
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_ _ ., ‘ \:}' `…<,'?§.J-Pnt`>
Plaintiff, * tv
v. * cR. No. 00-20068-1)
comity D. JoNEs, *
Defendant. *

 

ORDER

 

After having considered the defendant's motion to Reset the
Supervised Release Violat‘.ion Hearing, the Court: finds the Motion

should be Granted.

 

The Motion shall be reset to WU&SOAY , Sept:ember apa
2005 at 0.‘00 am/me-.

It is so Ordered, Adjudged and Dec'reed, this /;1»_~ day of
`SM€§OOE.

 

 

UNI ED STATES DISTRICT COURT JUDGE

   

This document entered on the docket
w|th Ftule 55 and/or 32{b) FRCrP on

I"RISTCT COURT - WESTRNE ISTCRIT oF TNNEESSEE

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Honorable Bernice Donald
US DISTRICT COURT

